                    UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Christopher Dean Reid, Sr

                                                            Case No.: 4-20-01846 MJC

                                                            Chapter 13
                      Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  M&T
 Court Claim Number:             13
 Last Four of Loan Number:       1426
 Property Address if applicable: 135 ½ Reagan St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                      $1,980.26
 b.      Prepetition arrearages paid by the trustee:                          $1,980.26
 c.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                     $5,256.18
 f.       Postpetition arrearage paid by the trustee:                         $5,256.18
 g.       Total b, d, and f:                                                  $7,236.44

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve o01945n the debtor(s),
 their counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: May 22, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Christopher Dean Reid, Sr

                                                           Case No.: 4-20-01846 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on May 22, 2025 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Dawn Marie Cutaia, Esquire
 Fresh Start Law, PLLC
 1701 West Market St
 York PA 17404


 Served by First Class Mail
 M&T Bank
 PO Box 1288
 Buffalo NY 14240-01288


 Christopher Dean Reid, Sr
 1240 East 6th St
 Bethlehem PA 18015


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: May 22, 2025                                    /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                            Disbursements for Claim
Case: 20-01846            CHRISTOPHER DEAN REID, SR.
         M & T BANK
                                                                                  Sequence: 24
         P.O. BOX 1288
                                                                                     Modify:
                                                                                 Filed Date: 7/17/2020 12:00:00AM
         BUFFALO, NY 14240-
                                                                                 Hold Code: P
 Acct No: 1426/POST ARREARS/135 1/2 REAGAN ST
         AMENDED CLAIM FILED 8/8/22 LOAN MOD


                                                Debt:         $5,256.18       Interest Paid:              $0.00
        Amt Sched:                 $0.00                                        Accrued Int:               $0.00
         Amt Due:         $0.00                 Paid:         $5,256.18        Balance Due:                $0.00

Claim name                           Type       Date          Check #      Principal    Interest       Total Reconciled
                                                                                             DisbDescrp
 5210        M & T BANK
521-0 M & T BANK                             06/16/2021       9011215     $1,679.37       $0.00   $1,679.37 06/16/2021


521-0 M & T BANK                             05/18/2021       9010941       $670.48       $0.00     $670.48 05/19/2021


521-0 M & T BANK                             04/15/2021       9010658       $649.08       $0.00     $649.08 05/13/2021


521-0 M & T BANK                             03/17/2021       9010370     $2,257.25       $0.00   $2,257.25 03/17/2021


                                                           Sub-totals: $5,256.18          $0.00   $5,256.18

                                                          Grand Total: $5,256.18          $0.00




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                                               Disbursements for Claim
Case: 20-01846            CHRISTOPHER DEAN REID, SR.
         M & T BANK
                                                                                     Sequence: 24
         P.O. BOX 1288
                                                                                        Modify:
                                                                                    Filed Date: 7/17/2020 12:00:00AM
         BUFFALO, NY 14240-
                                                                                    Hold Code: P
 Acct No: 1426/PRE ARREARS/135 1/2 REAGAN ST
         AMENDED CLAIM FILED 8/8/22- LOAN MOD


                                                 Debt:           $1,980.26       Interest Paid:              $0.00
        Amt Sched:                $62,508.00                                       Accrued Int:               $0.00
         Amt Due:         $0.00                   Paid:          $1,980.26        Balance Due:                $0.00

Claim name                              Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                                DisbDescrp
 5200        M & T BANK
520-0 M & T BANK                                06/16/2021       9011215       $632.70       $0.00     $632.70 06/16/2021


520-0 M & T BANK                                05/18/2021       9010941       $252.60       $0.00     $252.60 05/19/2021


520-0 M & T BANK                                04/15/2021       9010658       $244.54       $0.00     $244.54 05/13/2021


520-0 M & T BANK                                03/17/2021       9010370       $850.42       $0.00     $850.42 03/17/2021


                                                              Sub-totals: $1,980.26          $0.00   $1,980.26

                                                             Grand Total: $1,980.26          $0.00




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